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IN TI'IE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED sTATEs oF AMERICA
vs 3=05cR37-01/Rv
NATHANIEL FIELDS /

STANDING ORDER AN`D NOTICE TO
RETAINED CRIMINAL DEFENSE ATTORNEYS

Retained criminal defense attorneys are expected to make
financial arrangements that are satisfactory to themselves and
sufficient to provide for representation of each defendant
until the conclusion of the defendant's case. Unless this
Court, within seven (7) days after arraignment, is notified in
writing of counsel‘s withdrawal because of the defendant's
failure to nmke satisfactory financial arrangements, this
Court will expect retained counsel to represent the defendant
until the conclusion of the case. Failure of a defendant to
pay sums owed for attorney's fees or failure of counsel to
collect a sum sufficient to compensate for all the services
usually required of defense counsel will not constitute good
cause for withdrawal after the 7-day period has expired.

Every defendant has a right to appeal from any

conviction. Thus, the further expectation of this Court and

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the United States Court of Appeals for the Eleventh Circuit1
is that retained counsel, in making satisfactory financial
arrangements, will contemplate services to be rendered upon
appeal.

If a defendant moves the Court to proceed on appeal in
forma pauperis and/or for appointment of Criminal Justice Act

appellate counsel, retained counsel will, in addition to the
information required under Form 4 of the Rules of Appellate

Procedure, be required to fully disclose in camera (1) the

attorney's fee agreement and the total amount of such fees and
costs paid to date, in cash or otherwise; (2) by whom fees and
costs were paid; (3) any fees and costs remaining unpaid and
the complete terms of agreements concerning payment thereof;
(4) the costs actually incurred to date; and (5) a detailed
description of services actually rendered to date, including
a record of the itemized time (to the nearest 1/10 of an
hour) for each service, both in-court and out-of-court, and
the total time. Note that matters involving the receipt of
fees from a client are not generally privileged, United States
v. Sims, 845 F.2d 1564 (11th Cir. 1988); In re Slaughter, 694

F.2d 1258 (11th Cir. 1982); In re Grand Jury Proceedings:

United States v. Jones , 517 F.2d 666 (5th Cir. 1975). All

 

lSee llth Circuit Rules Addendum Four, "Eleventh Circuit Plan
under the Criminal Justice Plan," § (d).

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such information submitted will, of course, be viewed in
camera by the Court for the purpose of deciding the

defendant's motion, and will be a part of the record (sealed
if requested) in this case.

Except in extraordinary circumstances, this policy will
be strictly adhered to; such circumstances may be brought to
the Court's attention by motion to be relieved of the duty to
represent the defendant upon appeal.

DONE and ORDERED this 10TH day of May, 2005.

  

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sENIoR ITED sTATEs DISTRICT JUDGE

